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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


DANIELLE DUFRENSE CASEY,            *                CIVIL ACTION NO.: 09-7252
     PLAINTIFF                      *
                                    *                JUDGE: HELEN G. BERRIGAN
VERSUS                              *
                                    *                MAG. JDG.: JOSEPH C. WILKINSON
FORD MOTOR CREDIT COMPANY *
LLC and LCRS, INC.,                 *
      DEFENDANTS                    *
*************************************


                                             ORDER

       CONSIDERING the above and foregoing motion to dismiss with prejudice;

       IT IS ORDERED, that all claims and demands asserted herein by Danielle Dufrense

Casey (“Casey”) against Ford Motor Credit Company LLC (“Ford Credit”) in this matter, and all

claims and demands asserted by Ford Credit against Casey in this matter, be and the same hereby

are dismissed with prejudice, with each party to bear its own respective costs of court and

attorneys fees, and with Ford Credit and Casey reserving all of their respective rights and claims

against all other persons and entities whatsoever.

                                      4th day of August, 2010.
       New Orleans, Louisiana this ________



                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE
